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                                                                   1    Jeffrey W. Dulberg (State Bar No. 181200)
                                                                        John W. Lucas (State Bar No. 271038)
                                                                   2    PACHULSKI STANG ZIEHL & JONES LLP
                                                                        10100 Santa Monica Blvd., 13th Floor
                                                                   3    Los Angeles, CA 90067
                                                                        Telephone: 310/277-6910
                                                                   4    Facsimile: 310/201-0760
                                                                        E-mail: jdulberg@pszjlaw.com
                                                                   5             jlucas@pszjlaw.com

                                                                   6    Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                   7

                                                                   8                               UNITED STATES BANKRUPTCY COURT
                                                                   9                                CENTRAL DISTRICT OF CALIFORNIA
                                                                  10                                        LOS ANGELES DIVISION
                                                                       In re                                         Case No. 2:23-bk-10990-SK
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                                LESLIE KLEIN,                             Chapter 11
                                                                  12
                                                                                                      Debtor.             DECLARATION OF NICHOLAS
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                                                                          TROSZAK IN SUPPORT OF OBJECTIONS
                                                                                                                          TO MOTION TO CONVERT CHAPTER 11
                                                                  14                                                      CASE TO CHAPTER 7 AND MOTION TO
                                                                                                                          COMPEL ABANDONMENT
                                                                  15
                                                                                                                          Date:      February 28, 2024
                                                                  16                                                      Time:      9:00 a.m.
                                                                                                                          Courtroom: 1575
                                                                  17                                                      Location: 255 E. Temple Street
                                                                                                                                     Los Angeles, CA 90012
                                                                  18                                                      Judge:     Hon. Sandra R. Klein
                                                                  19                                                      [Relates to Docket Nos. 607 and 608]
                                                                  20            I, Nicholas Troszak, declare:
                                                                  21           1.      I am a managing director of Development Specialists, Inc. (“DSI”). I am the forensic
                                                                  22   account for Bradley D. Sharp, chapter 11 trustee (the “Trustee”) of the estate of Leslie Klein
                                                                  23   (“Klein” or the “Debtor”). The facts stated herein are of my own personal knowledge, or made
                                                                  24   known to me from a review of the files and pleadings in this action which are maintained in the
                                                                  25   ordinary course of business. If called upon as a witness to any facts set forth herein, I could and
                                                                  26   would competently testify thereto.
                                                                  27           2.      I make this declaration in support of the objections (the “Objection”) filed
                                                                  28   contemporaneously to the Motion to Convert Chapter 11 Case to Chapter 7 [Docket No. 608] (the
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                                                                   1   “Conversion Motion”) and Motion to Compel Abandonment of Les Klein & Associates [Docket No.

                                                                   2   607] (the “Abandonment Motion”), each filed by the Debtor.

                                                                   3         3.       On or about May 31, 2023, the Trustee and I met with the Debtor. At that time, the

                                                                   4   Debtor indicated he did not maintain personal financial records for the various assets disclosed on

                                                                   5   his schedules. The Debtor claimed he did not maintain records for his financial affairs.

                                                                   6         4.       As a result, I worked with the Trustee, and the Trustee’s counsel, Pachulski Stang

                                                                   7   Ziehl & Jones (“PSZJ”) to seek the production of documents, pursuant to Bankruptcy Rule 2004

                                                                   8   (the “Rule 2004 Motions”) from third parties regarding claims against the Debtor, claims held by

                                                                   9   the Debtor, the Debtor’s assets, and generally how the Debtor conducted his affairs and operating the

                                                                  10   various business, trusts, and other companies that he owned or under his control.

                                                                  11         5.       To date, at the Trustee’s direction and working with PSZJ, I assisted in the
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   preparation of more than thirty Rule 2004 Motions.
                                        LOS ANGELES, CALIFORNIA




                                                                  13         6.       By the Rule 2004 Motions, I was able to obtain records regarding certain bank
                                           ATTORNEYS AT LAW




                                                                  14   accounts of the Debtor, Les Klein & Associates, BADCO., and other companies owned and

                                                                  15   controlled by the Debtor. Through these business records, I was able to trace the transfer of money

                                                                  16   by the Debtor through companies that are either owned or controlled by the Debtor.

                                                                  17         7.       Attached hereto as Exhibit A, is a true and correct copy of the Debtor’s personal

                                                                  18   credit card statement reflecting a refund in the amount of $3,295.02.

                                                                  19         8.       Attached hereto as Exhibit B, is a true and correct copy of the deposit slip and refund

                                                                  20   check issued to the Debtor by Bank of America for a refund in the amount of $3,295.02.

                                                                  21         9.       Attached hereto as Exhibit C, is a true and correct copy of an LKA bank statement

                                                                  22   reflecting that a deposit was made in the amount of $3,295.02. Exhibit C also reflects a deposit of

                                                                  23   the Debtor’s social security distributions deposited on July 10, 2023.

                                                                  24         10.      Attached hereto as Exhibit D, are the personal bank account statements of the Debtor

                                                                  25   reflecting the deposit of his social security distributions into his personal account.

                                                                  26         11.      Attached hereto as Exhibit E, is a chart showing the credits and debits of cash in

                                                                  27   LKA’s bank accounts that reflect the transferees and the purpose of the transfers.

                                                                  28
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       EXHIBIT A
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LESLIE KLEIN      ! Account #                       6416 ! June 17 - July 16, 2023

                                                                                                                                                                   006 - 004 - 012 - G




IMPORTANT INFORMATION ABOUT THIS ACCOUNT

PAYING INTEREST - We will not charge interest on Purchases on the next                        CALCULATION OF BALANCES SUBJECT TO INTEREST RATE
statement if you pay the New Balance Total in full by the Payment Due Date,                   Average Daily Balance Method (including new Purchases): We calculate
and you had paid in full by the previous Payment Due Date. We will begin                      separate Balances Subject to an Interest Rate for Purchases and for each
charging interest on Balance Transfers and Cash Advances on the transaction                   Introductory or Promotional Offer balance consisting of Purchases. We do this
date.                                                                                         by: (1) calculating a daily balance for each day in the billing cycle; (2) adding all
TOTAL INTEREST CHARGE COMPUTATION - Interest Charges accrue and                               the daily balances together; and (3) dividing the sum of the daily balances by
are compounded on a daily basis. To determine the Interest Charges, we                        the number of days in the billing cycle.
multiply each Balance Subject to Interest Rate by its applicable Daily Periodic               To calculate the daily balance for each day in this statement's billing cycle, we:
Rate and that result is multiplied by the number of days in the billing cycle. To             (1) take the beginning balance; (2) add an amount equal to the applicable Daily
determine the total Interest Charge for the billing cycle, we add the Periodic                Periodic Rate multiplied by the previous day's daily balance; (3) add new
Rate Interest Charges together. A Daily Periodic Rate is calculated by dividing               Purchases, new Account Fees, and new Transaction Fees; and (4) subtract
an Annual Percentage Rate by 365.                                                             applicable payments and credits. If any daily balance is less than zero we treat
HOW WE ALLOCATE YOUR PAYMENTS - Payments are allocated to                                     it as zero.
posted balances. If your account has balances with different APRs, we will                    Average Balance Method (including new Balance Transfers and new Cash
allocate the amount of your payment equal to the Total Minimum Payment Due                    Advances): We calculate separate Balances Subject to an Interest Rate for
to the lowest APR balances first (including transactions made after this                      Balance Transfers, Cash Advances, and for each Introductory or Promotional
statement). Payment amounts in excess of your Total Minimum Payment Due                       Offer balance consisting of Balance Transfers or Cash Advances. We do this by:
will be applied to balances with higher APRs before balances with lower APRs.                 (1) calculating a daily balance for each day in this statement's billing cycle; (2)
IMPORTANT INFORMATION ABOUT PAYMENTS BY PHONE - When                                          calculating a daily balance for each day prior to this statement's billing cycle
using the optional Pay-by-Phone service, you authorize us to initiate an                      that had a "Pre-Cycle balance" - a Pre-Cycle balance is a Balance Transfer or a
electronic payment from your account at the financial institution you designate.              Cash Advance with a transaction date prior to this statement's billing cycle but
You must authorize the amount and timing of each payment. For your                            with a posting date within this statement's billing cycle; (3) adding all the daily
protection, we will ask for security information. To cancel, call us before the               balances together; and (4) dividing the sum of the daily balances by the number
scheduled payment date. Same-day payments cannot be edited or canceled.                       of days in this statement's billing cycle.
YOUR CREDIT LINES - The Total Credit Line is the amount of credit                             To calculate the daily balance for each day in this statement's billing cycle, we:
available for the account; however, only a portion of that is available for Bank              (1) take the beginning balance; (2) add an amount equal to the applicable Daily
Cash Advances. The Cash Credit Line is that amount you have available for                     Periodic Rate multiplied by the previous day's daily balance; (3) add new
Bank Cash Advances. Generally, Bank Cash Advances consist of ATM Cash                         Balance Transfers, new Cash Advances and Transaction Fees; and (4) subtract
Advances, Over the Counter (OTC) Cash Advances, Same-Day Online Cash                          applicable payments and credits. If any daily balance is less than zero we treat
Advances, Overdraft Protection Cash Advances, Cash Equivalents, and                           it as zero.
applicable transaction fees.                                                                  To calculate a daily balance for each day prior to this statement's billing cycle
MISCELLANEOUS - Promotional Rate End Date: This date is based on a                            that had a Pre-Cycle balance: (1) we take the beginning balance attributable
future statement closing date. If you change your payment due date, this date                 solely to Pre-Cycle balance (which will be zero on the transaction date of the
could change. The New Balance Total which appears on this statement is not a                  first Pre-Cycle balance); (2) add an amount equal to the applicable Daily
payoff amount and may be subject to additional interest charges when you pay                  Periodic Rate multiplied by the previous day's daily balance; (3) and add only
in full after your statement closing date. Virtual cards are the digital form of              the applicable Pre-Cycle balances and their related Transaction Fees. We
your eligible physical credit cards stored within a digital wallet.                           exclude from this calculation all transactions posted in previous billing cycles.


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                                                                                              For the complete terms and conditions of your account, consult your Credit
                                                                                              Card Agreement. This account is issued and administered by Bank of America.
                                                                                              Bank of America is a registered trademark of Bank of America Corporation.




PAYMENTS - We credit mailed payments as of the date received, if the payment is: (1) received by 5 p.m. local time at the address shown on the remittance portion of your
monthly statement; (2) paid with a check drawn in U.S. dollars on a U.S. financial institution or a U.S. dollar money order; and (3) sent in the return envelope with only the remittance
portion of your statement accompanying it. Payments received by mail after 5 p.m. local time at the remittance address on any day including the Payment Due Date, but that otherwise
meet the above requirements, will be credited as of the next day. Payments made online or by phone will be credited as of the date of receipt if made by 5 p.m. Central. Credit for any
other payments may be delayed up to five days. Cash payments made with our tellers will only be accepted with a valid identification (ID).
No payment shall operate as an accord and satisfaction without the prior written approval of one of our Senior Officers.
We process most payment checks electronically by using the information found on your check. Each check authorizes us to create a one-time electronic funds transfer (or process it as a
check or paper draft). Funds may be withdrawn from your account as soon as the same day we receive your payment. Checks are not returned to you.
If you have authorized us to pay your credit card bill automatically from your savings or checking account with us, you can stop the payment on any amount you think is wrong. To stop
payment, your letter must reach us at least three business days before the automatic payment is scheduled to occur.




                                               Change of Address/Phone number: Online at www.bankofamerica.com




                                                      Please do not add any written communication in this space.




                                                                                                                                                                                         AB
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LESLIE KLEIN    ! Account #                   6416 ! June 17 - July 16, 2023




Transactions
Transaction   Posting                                                                         Reference       Account
Date          Date      Description                                                           Number          Number               Amount                 Total

                        Purchases and Adjustments
04/25         07/14     REFUND CREDIT BALANCE                                                  26AJ            6416                3,295.02
                            TOTAL PURCHASES AND ADJUSTMENTS FOR THIS PERIOD                                                                       $3,295.02


                        Interest Charged
07/16         07/16     INTEREST CHARGED ON PURCHASES                                                                                    0.00
07/16         07/16     INTEREST CHARGED ON BALANCE TRANSFERS                                                                            0.00
07/16         07/16     INTEREST CHARGED ON DIR DEP&CHK CASHADV                                                                          0.00
07/16         07/16     INTEREST CHARGED ON BANK CASH ADVANCES                                                                           0.00
                            TOTAL INTEREST CHARGED FOR THIS PERIOD                                                                                       $0.00



                                               2023 Totals Year-to-Date

                           Total fees charged in 2023                                  -$4,269.61

                           Total interest charged in 2023                                 $88.84




Interest Charge Calculation
  Your Annual Percentage Rate (APR) is the annual interest rate on your account.

  Type of                                    Annual           Promotional       Promotional     Promotional         Balance            Interest
  Balance                                    Percentage       Transaction       Offer ID        Rate End            Subject to         Charges by
                                             Rate             Type                              Date                Interest           Transaction
                                                                                                                    Rate               Type


  Purchases                                    0.00% V                                                          $           0.00   $            0.00
  Balance Transfers                            0.00% V                                                          $           0.00   $            0.00
  Direct Deposit and Check Cash                0.00% V                                                          $           0.00   $            0.00
  Advances
  Bank Cash Advances                           0.00% V                                                          $           0.00   $            0.00


  APR Type Definitions Daily Interest Rate Type: V= Variable Rate (rate may vary)




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P.O. Box 15284
Wilmington, DE 19850
                                                                                              Customer service information


                                                                                              1.888.BUSINESS (1.888.287.4637)

                                                                                              bankofamerica.com
  LES KLEIN & ASSOCIATES
                                                                                              Bank of America, N.A.
  TRUST ACCOUNT
                                                                                              P.O. Box 25118
  DBA FAMILY LEGAL SERVICES                                                                   Tampa, FL 33622-5118
  14245 VENTURA BLVD STE 301
  SHERMAN OAKS, CA 91423-2767




Your Business Advantage Relationship Banking
Preferred Rewards for Bus Platinum Honors
for July 1, 2023 to July 31, 2023                                                      Account number:                          9404
LES KLEIN & ASSOCIATES                    TRUST ACCOUNT          DBA FAMILY LEGAL SERVICES

Account summary
Beginning balance on July 1, 2023                                       $816.14    # of deposits/credits: 15
Deposits and other credits                                           117,937.41    # of withdrawals/debits: 44
Withdrawals and other debits                                          -84,350.50   # of items-previous cycle¹: 19
Checks                                                                -29,266.51   # of days in cycle: 31
Service fees                                                               -0.00   Average ledger balance: $7,430.85
Ending balance on July 31, 2023                                      $5,136.54     ¹Includes checks paid, deposited items and other debits




                                                                                              Maria Markarian Jonian
                                                                                              818.649.5484
                                                                                              maria.markarian@bofa.com




PULL: E CYCLE: 50 SPEC: 9 DELIVERY: X TYPE:   IMAGE: B BC: CA5                                                                Page 1 of 14
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                                                                          31, 2023


IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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                                                                                            Your checking account
LES KLEIN & ASSOCIATES ! Account #              9404 ! July 1, 2023 to July 31, 2023

       As of 09/08/2022, your account has earned $249.42 in Cash Rewards on your Merchant Services processing since enrolling in Bank of
       America Preferred Rewards for Business.




Deposits and other credits
Date          Description                                                                                                              Amount

07/03/23      Agent Assisted transfer from CHK 4140 Confirmation# 605rt3tp4                                                         7,000.00

07/07/23      Agent Assisted transfer from CHK 8122 Confirmation# 1k78ma9av                                                         5,000.00

07/10/23      SSA TREAS 310 DES:XXSOC SEC ID:XXXXXXXXXA SSA INDN:LESLIE KLEIN                     CO                                7,519.00
              ID           PPD

07/14/23      Agent Assisted transfer from CHK 8122 Confirmation# 181vppot5                                                       30,000.00

07/17/23      Agent Assisted transfer from CHK 4140 Confirmation# 1ku0rgp1p                                                       20,000.00

07/17/23      Agent Assisted transfer from CHK 8122 Confirmation# 1ba4m74bp                                                       11,000.00

07/18/23      Agent Assisted transfer from CHK 8122 Confirmation# e9coq1uyp                                                         3,000.00

07/18/23      Counter Credit                                                                                                        1,623.39

07/19/23      Agent Assisted transfer from CHK 8122 Confirmation# 11vvl3vae                                                         2,000.00

07/20/23      Agent Assisted transfer from CHK 8122 Confirmation# 1kaj0tv15                                                         2,500.00

07/21/23      Agent Assisted transfer from CHK 8122 Confirmation# ynhuk7oh6                                                         3,000.00

07/24/23      Counter Credit                                                                                                        3,295.02

07/25/23      Agent Assisted transfer from CHK 8122 Confirmation# l3m0v79l8                                                       10,000.00

07/28/23      Agent Assisted transfer from CHK 8122 Confirmation# 7ekl2j3q5                                                         6,000.00

07/31/23      Agent Assisted transfer from CHK 8122 Confirmation# 11ud5sn0c                                                         6,000.00

Total deposits and other credits                                                                                           $117,937.41



Withdrawals and other debits
Date          Description                                                                                                              Amount

07/03/23      Agent Assisted transfer to CHK 9405 Confirmation# 1m6b2harp                                                          -3,300.00

07/03/23      BANK OF AMERICA DES:DISCOUNT ID                         INDN:LES KLEIN&ASSOCIATES        CO                              -29.95
              ID:XXXXXXXXXB CCD
                                                                                                                       continued on the next page




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                                                                                                      Your checking account
LES KLEIN & ASSOCIATES ! Account #                    9404 ! July 1, 2023 to July 31, 2023




Service fees
The Monthly Fee on your primary Business Advantage Relationship Banking account was waived for the statement period ending 06/30/23. A
check mark below indicates the requirement(s) you have met to qualify for the Monthly Fee waiver on the account.
        $15,000+ combined average monthly balance in linked business accounts has not been met

        Become a member of Preferred Rewards for Business has been met

For information on how to open a new product, link an existing service to your account, or about Preferred Rewards for Business please call
1.888.BUSINESS or visit bankofamerica.com/smallbusiness.

Date           Transaction description                                                                                               Amount

07/31/23       Prfd Rwds for Bus-Check Image Fee Waiver of $3                                                                          -0.00

Total service fees                                                                                                                  -$0.00
Note your Ending Balance already reflects the subtraction of Service Fees.




Daily ledger balances
Date                                 Balance ($)     Date                               Balance($)     Date                       Balance ($)

07/01                                     816.14     07/12                              4,900.26       07/24                       6,524.18
07/03                                    4,160.82    07/14                             33,600.26       07/25                      16,507.84
07/05                                    3,838.87    07/17                                   748.89    07/26                       4,159.39
07/06                                    1,341.70    07/18                              3,122.28       07/27                         136.54
07/07                                    5,922.70    07/19                                   574.16    07/28                       6,136.54
07/10                               12,492.78        07/20                              1,229.16       07/31                       5,136.54
07/11                                    8,542.90    07/21                              3,229.16




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P.O. Box 15284
Wilmington, DE 19850
                                                                                     Customer service information


                                                                                     Customer service: 1.800.432.1000
                                                                                     En Español: 1.800.688.6086
  LESLIE KLEIN                                                                       bankofamerica.com
  ERIKA KLEIN
  322 N JUNE ST                                                                      Bank of America, N.A.
  LOS ANGELES, CA 90004-1042                                                         P.O. Box 25118
                                                                                     Tampa, FL 33622-5118




Your Adv Tiered Interest Chkg
for December 17, 2022 to January 18, 2023                                        Account number:                  9401
LESLIE KLEIN            ERIKA KLEIN

Account summary
Beginning balance on December 17, 2022                              $11,563.14
Deposits and other additions                                         76,166.71
ATM and debit card subtractions                                     -64,322.15
Other subtractions                                                  -19,138.13
Checks                                                                 -715.42
Service fees                                                            -99.20

Ending balance on January 18, 2023                                  $3,454.95

Annual Percentage Yield Earned this statement period: 0.01%.
Interest Paid Year To Date: $0.06.




PULL: B CYCLE: 11 SPEC: 0 DELIVERY: P TYPE:   IMAGE: A BC: CA8                                               Page 1 of 8
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

Electronic transfers: In case of errors or questions about your electronic transfers - If you think your statement or receipt is
wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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LESLIE KLEIN ! Account #           9401 ! December 17, 2022 to January 18, 2023




Deposits and other additions
Date         Description                                                                                          Amount

12/19/22     WIRE TYPE:BOOK IN DATE:221219 TIME:1637 ET TRN:2022121900538466 SNDR REF:417914738              10,000.00
             ORIG:ALINOR MOEINZADEH ID:446010695797

12/20/22     Agent Assisted transfer from CHK 9404 Confirmation# lbckkziof                                     1,000.00

12/20/22     Agent Assisted transfer from CHK 9404 Confirmation# 9axi9wl8j                                        300.00

12/21/22     Agent Assisted transfer from CHK 9404 Confirmation# 2mj8ah3i0                                   20,000.00

12/21/22     BKOFAMERICA ATM 12/21 #000006301 DEPOSIT LARCHMONT VILLAGE LOS ANGELES CA                            750.00

12/23/22     Agent Assisted transfer from CHK 9404 Confirmation# mks7kppbl                                     1,000.00

12/27/22     Agent Assisted transfer from CHK 9404 Confirmation# q45r6r7lb                                     1,000.00
12/28/22     Agent Assisted transfer from CHK 9404 Confirmation# pjn4s19p6                                     1,000.00

12/29/22     Agent Assisted transfer from CHK 9404 Confirmation# 1aqm50uyb                                   20,000.00

12/30/22     Agent Assisted transfer from CHK 9404 Confirmation# 10r6j1n9u                                     1,000.00

01/03/23     BKOFAMERICA ATM 01/02 #000004698 DEPOSIT LARCHMONT VILLAGE LOS ANGELES CA                         5,325.00

01/03/23     BKOFAMERICA ATM 01/01 #000001950 DEPOSIT LA BREA-ROSEWOOD LOS ANGELES CA                             400.00

01/03/23     Agent Assisted transfer from CHK 9404 Confirmation# 1cp5pd88t                                     1,000.00

01/03/23     CHECKCARD 1231 TheOutnet New York        NY 7479338236500074446                                      350.45

01/06/23     PAYPAL        DES:TRANSFER ID:                    INDN:LESLIE KLEIN   CO                          4,000.00
             ID             PPD

01/06/23     Agent Assisted transfer from CHK 9404 Confirmation# y95j7xolr                                     1,000.00

01/09/23     CHECKCARD 0105 UNITED         01624560657 800-932-2732 TX 7469216300610655160                         11.20

01/10/23     Agent Assisted transfer from CHK 9404 Confirmation# 17e2sqyej                                        600.00

01/11/23     SSA TREAS 310 DES:XXSOC SEC ID:XXXXXXXXXA SSA INDN:LESLIE KLEIN            CO                     3,430.00
             ID           PPD

01/17/23     Agent Assisted transfer from CHK 9404 Confirmation# 7fg9y0kwc                                     2,000.00
01/18/23     Agent Assisted transfer from CHK 9404 Confirmation# 13z039vjb                                     1,000.00
                                                                                                  continued on the next page




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Deposits and other additions - continued
Date         Description                                                                                            Amount

01/18/23     Agent Assisted transfer from CHK 9404 Confirmation# 15ctflwrk                                       1,000.00

01/18/23     Interest Earned                                                                                           0.06

Total deposits and other additions                                                                        $76,166.71



Withdrawals and other subtractions

ATM and debit card subtractions
Date         Description                                                                                            Amount

12/19/22     CHECKCARD 1215 USPS KIOSK 0545379560 LOS ANGELES CA 24137462351001878626366                              -7.20

12/19/22     CHECKCARD 1216 Meshuga 4 Sushi Los Angeles CA 24342852350017035161752                                  -18.99

12/19/22     CHECKCARD 1216 WHITEFORD TAYLOR PRESTO 410-347-8700 MD                                           -11,099.50
             24247602351500898441746

12/19/22     CHECKCARD 1216 L A SUPERIOR COURT 213-8930364 CA 24492792352118000172834                               -36.80

12/19/22     CHECKCARD 1219 HIGHMEL INC LOS ANGELES CA                                                              -65.50

12/19/22     BKOFAMERICA ATM 12/19 #000002089 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                           -500.00

12/20/22     BKOFAMERICA ATM 12/20 #000002278 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                           -200.00

12/20/22     GLATT MART        12/20 #000037858 PURCHASE GLATT MART          LOS ANGELES CA                       -317.76

12/20/22     BKOFAMERICA ATM 12/20 #000004796 WITHDRWL RIVERSIDE-WOODMAN SHERMAN OAKS CA                          -620.00

12/21/22     CHECKCARD 1220 SQ *ZULICA STUDIO LOS ANGELES CA 24492152354740091623600                                -85.00

12/21/22     BKOFAMERICA ATM 12/21 #000006302 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                           -200.00

12/22/22     CHECKCARD 1220 L A SUPERIOR COURT 213-8930364 CA 24492792355118000145621                               -28.00

12/22/22     CHECKCARD 1222 AMAZON.COM*SU4CQ29U3 AM AMZN.COM/BILLWA                                                 -12.92
             24431062356083755069064

12/22/22     BKOFAMERICA ATM 12/22 #000003015 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                           -200.00

12/23/22     CHECKCARD 1221 WHITEFORD TAYLOR PRESTO 410-347-8700 MD                                           -20,000.00
             24247602356500815735241

12/23/22     CHECKCARD 1223 OOMA,INC 888-711-6662 CA 24692162357106467890781 RECURRING                            -147.30

12/23/22     BKOFAMERICA ATM 12/23 #000003112 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                           -800.00

12/23/22     PAVILIONS #222 12/23 #000902325 PURCHASE PAVILIONS #2229         LOS ANGELES CA                      -114.22

12/23/22     BKOFAMERICA ATM 12/23 #000003158 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                           -200.00

12/27/22     CHECKCARD 1222 L A SUPERIOR COURT 213-8930364 CA 24492792357118000170767                                 -2.00

12/27/22     CHECKCARD 1224 Meshuga 4 Sushi Los Angeles CA 24342852359017031181037                                  -37.98

12/27/22     CHECKCARD 1225 CHEVRON 0090726 LOS ANGELES CA 24692162359107975388233                                  -66.41

12/27/22     CHECKCARD 1226 D J*WALL-ST-JOURNAL 800-568-7625 MA 24692162360108346615806                             -47.98
             RECURRING

12/27/22     UNDER ARMOUR C 12/26 #000314071 PURCHASE UNDER ARMOUR CAM CAMARILLO               CA                   -45.56

12/27/22     CALVIN KLEIN # 12/26 #000438379 PURCHASE CALVIN KLEIN #0        CAMARILLO   CA                       -262.76
                                                                                                    continued on the next page




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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date         Description                                                                                             Amount

12/27/22     CALVIN KLEIN # 12/26 #000650923 PURCHASE CALVIN KLEIN #0          CAMARILLO   CA                      -231.84

12/27/22     BKOFAMERICA ATM 12/27 #000004038 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                            -200.00

12/27/22     SMART AND FINA 12/27 #000656983 PURCHASE SMART AND FINAL            LOS ANGELES CA                    -144.91

12/27/22     TRADER JOE S # 12/27 #000463666 PURCHASE TRADER JOE S #03 LOS ANGELES CA                                -85.48

12/28/22     BKOFAMERICA ATM 12/28 #000007991 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                            -200.00

12/28/22     GLATT MART    12/28 #000764066 PURCHASE GLATT MART            LOS ANGELES CA                            -65.60

12/29/22     CHECKCARD 1227 L A SUPERIOR COURT 213-8930364 CA 24492792362118000192541                                  -5.00

12/29/22     CHECKCARD 1227 USPS KIOSK 0545379559 LOS ANGELES CA 24137462363001534155673                               -6.00

12/29/22     CHECKCARD 1227 L A SUPERIOR COURT 213-8930364 CA 24492792362118000116235                                  -5.40

12/29/22     CHECKCARD 1228 VERIZON*RECURRING PAY 800-VERIZON FL 24692162362109686091382                             -59.99
             RECURRING

12/29/22     CHECKCARD 1229 PRESSED JUICERY, INC. 310-883-2114 CA 24492152363743370588352                            -10.00

12/30/22     CHECKCARD 1228 L A SUPERIOR COURT 213-8930364 CA 24492792363118000161545                                  -2.00

12/30/22     CHECKCARD 1228 PAT'S CAFE LOS ANGELES CA 24426292363016026233136                                        -53.00

12/30/22     CHECKCARD 1229 APPLE.COM/BILL 866-712-7753 CA 24692162363100512568619 RECURRING                           -6.99

12/30/22     CHECKCARD 1228 ELITE FRESH FISH LOS ANGELES CA 24431862363030033439878                                  -30.34

12/30/22     CHECKCARD 1228 PRESSED JUICERY - LARC LOS ANGELES CA 24269792363500696289444                            -30.30

12/30/22     CHECKCARD 1230 HIGHMEL INC LOS ANGELES CA                                                               -69.24

12/30/22     PAVILIONS #222 12/30 #000190713 PURCHASE PAVILIONS #2229          LOS ANGELES CA                      -112.45

12/30/22     BKOFAMERICA ATM 12/30 #000005031 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                            -200.00

01/03/23     CHECKCARD 1230 CAEFILE*010805800-0 213-830-0840 CA 24692162364101864517567                            -202.25

01/03/23     CHECKCARD 1230 CAEFILE*010805800-0 800-297-5377 TX 24692162364101865009747                              -13.26

01/03/23     CHECKCARD 1230 BAKER OLSON LECROY & DA 818-5025600 CA 24559302364900016708170                     -20,300.00

01/03/23     CHECKCARD 0101 UNITED     01624558251 800-932-2732 TX 24692163001102850338304                         -505.20

01/03/23     CHECKCARD 0101 Google LLC GSUITE docto 650-2530000 CA 24204293001001149349070                           -31.80
             RECURRING

01/03/23     CHECKCARD 0101 Google LLC GSUITE bigbo 650-2530000 CA 24204293001001306048077                           -48.00
             RECURRING

01/03/23     CHECKCARD 0101 ZADIG & VOLTAIRE CAMARI CAMARILLO         CA 24431063002706000342367                   -149.29

01/03/23     CHECKCARD 0101 JIMMY CHOO-CAMARILLO OU CAMARILLO           CA 24941663001750530099981                 -283.14

01/03/23     CHECKCARD 0102 AMZN MKTP US*LY7XQ6TD3 AMZN.COM/BILLWA                                                   -72.16
             24431063002083331818527
                                                                                                     continued on the next page




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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date         Description                                                                                       Amount

01/03/23     PURCHASE 0102 Amazon web services aws.amazon.coWA                                               -220.32

01/04/23     CHECKCARD 0102 UNITED     01624560657 800-932-2732 TX 24692163003104206767366                     -11.20

01/04/23     CHECKCARD 0103 VZWRLSS*APOCC VISE 800-922-0204 FL 24692163003104037138985                       -122.14
             RECURRING

01/04/23     BKOFAMERICA ATM 01/04 #000006534 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                        -40.00

01/05/23     CHECKCARD 0104 TMOBILE*AUTO PAY 800-937-8997 WA 24692163004104956447010                         -295.52
             RECURRING

01/05/23     CHECKCARD 0104 MICHAEL HANNON MD PC BEVERLY HILLSCA 24943003005207685400251                     -246.92

01/05/23     CHECKCARD 0105 HIGHMEL INC LOS ANGELES CA                                                         -93.19

01/05/23     GLATT WESTERN 01/05 #000223217 PURCHASE GLATT WESTERN K       LOS ANGELES CA                    -216.25

01/06/23     CHECKCARD 0104 ARIEL GLATT KOSHER M LOS ANGELES CA 24559303005900012600028                          -8.76

01/06/23     CHECKCARD 0104 L A SUPERIOR COURT 213-8930364 CA 24492793005118000179309                            -5.00

01/06/23     PAVILIONS #222 01/06 #000398032 PURCHASE PAVILIONS #2229    LOS ANGELES CA                        -88.63

01/09/23     CHECKCARD 0106 AMZN MKTP US*ZH4RY6GO3 AMZN.COM/BILLWA                                             -18.60
             24431063006083315878816

01/09/23     CHECKCARD 0106 MARKS' MARINE PHARMACY VANCOUVER      BC 74525513007685336345925                 -339.99

01/09/23     CHECKCARD 0106 MENSCH BAKERY LOS ANGELES CA 24231683007091660002243                               -52.00

01/09/23     CHECKCARD 0106 RITE AID 05424 LOS ANGELES CA 24943003007838007861511                              -74.96

01/10/23     BKOFAMERICA ATM 01/10 #000008127 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                      -400.00

01/11/23     PAVILIONS #222 01/11 #000830288 PURCHASE PAVILIONS #2229    LOS ANGELES CA                        -15.48

01/11/23     GLATT MART    01/11 #000969706 PURCHASE GLATT MART         LOS ANGELES CA                       -211.13

01/12/23     CHECKCARD 0111 CAEFILE*010894375-0 213-830-0840 CA 24692163011100526948397                          -2.25

01/12/23     CHECKCARD 0111 CAEFILE*010894375-0 800-297-5377 TX 24692163011100526636521                        -10.84

01/12/23     TRADER JOE S # 01/12 #000154459 PURCHASE TRADER JOE S #03 LOS ANGELES CA                        -137.94

01/17/23     BKOFAMERICA ATM 01/15 #000009495 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                      -300.00

01/17/23     CHECKCARD 0111 MYCASE 800-5718062 CA 24559303013900014983307                                    -483.00

01/17/23     CHECKCARD 0115 HIGHMEL INC LOS ANGELES CA                                                         -54.83

01/17/23     BKOFAMERICA ATM 01/17 #000001087 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                      -200.00

01/17/23     BATH AND BODY 01/17 #000261218 PURCHASE BATH AND BODY WOR LOS ANGELES CA                          -60.55

01/18/23     CHECKCARD 0117 UNITED     01624594557 800-932-2732 TX 24692163017104543533848                 -2,156.87

01/18/23     CHECKCARD 0117 SP JONATHAN SIMKHAI 424-2843071 NY 24492163017000041592215                       -216.26

Total ATM and debit card subtractions                                                               -$64,322.15
                                                                                               continued on the next page




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Withdrawals and other subtractions - continued

Other subtractions
Date          Description                                                                                                                    Amount

12/19/22      Agent Assisted transfer to CHK 9404 Confirmation# 1hfbghkft                                                                -9,000.00

12/27/22      DELTA DENTAL INS DES:PREMIUM             ID                 INDN:Klein,Leslie            CO                                     -72.10
              ID           PPD

01/06/23      DEBIT FOR CHARGED OFF ACCOUNT                                                                                              -8,866.03

01/13/23      Customer Withdrawal Image                                                                                                     -200.00

01/18/23      Customer Withdrawal Image                                                                                                  -1,000.00

Total other subtractions                                                                                                          -$19,138.13


Checks
Date          Check #                                       Amount                   Date            Check #                                 Amount
12/19/22      6983                                       -250.00                     01/04/23        7286                                   -250.00
12/19/22      7275*                                         -15.42                   01/09/23        7287                                   -100.00
12/28/22      7285*                                      -100.00
                                                                                     Total checks                                       -$715.42
                                                                                     Total # of checks                                              5
* There is a gap in sequential check numbers



Service fees
  Your Overdraft and NSF: Returned Item fees for this statement period and year to date are shown below.

                                               Total for this period                 Total year-to-date

  Total Overdraft fees                                $0.00                                 $10.00

  Total NSF: Returned Item fees                       $0.00                                 $35.00

  We want to help you avoid overdraft fees. Here are a few ways to manage your account and stay on top of your balance:
       - Enroll in Balance Connect™ for overdraft protection through Online or Mobile Banking to help save on overdraft fees and cover
       your payments and purchases by automatically transferring money from your linked backup accounts when needed.
       - Sign up for Alerts (footnote 1) to get an email or text message when your balance becomes low
  Please call us or visit us if you have any questions or to discuss your options.
  (footnote 1) You may elect to receive alerts via text or email. Bank of America does not charge for this service but your mobile carrier's
  message and data rates may apply. Delivery of alerts may be affected or delayed by your mobile carrier's coverage.

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Service fees - continued
Date           Transaction description                                                                                                   Amount

01/05/23       Safebox Rental                                                                                                            -89.00

01/09/23       CHECKCARD 0106 MARKS' MARINE PHARMACY VANCOUVER BC                                                                        -10.20
               74525513007685336345925 INTERNATIONAL TRANSACTION FEE

Total service fees                                                                                                                    -$99.20
Note your Ending Balance already reflects the subtraction of Service Fees.




       Braille and Large Print Request - You can request a copy of this statement in Braille or Large Print by calling 800.432.1000 or going to
       bankofamerica.com and enter Visually Impaired Access from the home page.




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P.O. Box 15284
Wilmington, DE 19850
                                                                                           Customer service information


                                                                                           Customer service: 1.800.432.1000
                                                                                           En Español: 1.800.688.6086
  LESLIE KLEIN                                                                             bankofamerica.com
  ERIKA KLEIN
  322 N JUNE ST                                                                            Bank of America, N.A.
  LOS ANGELES, CA 90004-1042                                                               P.O. Box 25118
                                                                                           Tampa, FL 33622-5118




       Please see the Important Messages - Please Read section of your statement for important details that could impact you.




Your Adv Tiered Interest Chkg
for January 19, 2023 to February 14, 2023                                             Account number:                   9401
LESLIE KLEIN            ERIKA KLEIN

Account summary
Beginning balance on January 19, 2023                                $3,454.95
Deposits and other additions                                         35,992.28
ATM and debit card subtractions                                     -23,091.38
Other subtractions                                                   -8,426.53
Checks                                                                   -0.00
Service fees                                                            -88.02

Ending balance on February 14, 2023                                 $7,841.30

Annual Percentage Yield Earned this statement period: 0.01%.
Interest Paid Year To Date: $0.11.




PULL: B CYCLE: 11 SPEC: 0 DELIVERY: P TYPE:   IMAGE: A BC: CA2                                                        Page 1 of 6
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IMPORTANT INFORMATION:
BANK DEPOSIT ACCOUNTS
How to Contact Us - You may call us at the telephone number listed on the front of this statement.

Updating your contact information - We encourage you to keep your contact information up-to-date. This includes address,
email and phone number. If your information has changed, the easiest way to update it is by visiting the Help & Support tab of
Online Banking.

Deposit agreement - When you opened your account, you received a deposit agreement and fee schedule and agreed that your
account would be governed by the terms of these documents, as we may amend them from time to time. These documents are
part of the contract for your deposit account and govern all transactions relating to your account, including all deposits and
withdrawals. Copies of both the deposit agreement and fee schedule which contain the current version of the terms and
conditions of your account relationship may be obtained at our financial centers.

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wrong or you need more information about an electronic transfer (e.g., ATM transactions, direct deposits or withdrawals,
point-of-sale transactions) on the statement or receipt, telephone or write us at the address and number listed on the front of
this statement as soon as you can. We must hear from you no later than 60 days after we sent you the FIRST statement on
which the error or problem appeared.

    -   Tell us your name and account number.
    -   Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error
        or why you need more information.
    -   Tell us the dollar amount of the suspected error.

For consumer accounts used primarily for personal, family or household purposes, we will investigate your complaint and will
correct any error promptly. If we take more than 10 business days (10 calendar days if you are a Massachusetts customer) (20
business days if you are a new customer, for electronic transfers occurring during the first 30 days after the first deposit is
made to your account) to do this, we will provisionally credit your account for the amount you think is in error, so that you will
have use of the money during the time it will take to complete our investigation.

For other accounts, we investigate, and if we find we have made an error, we credit your account at the conclusion of our
investigation.

Reporting other problems - You must examine your statement carefully and promptly. You are in the best position to discover
errors and unauthorized transactions on your account. If you fail to notify us in writing of suspected problems or an
unauthorized transaction within the time period specified in the deposit agreement (which periods are no more than 60 days
after we make the statement available to you and in some cases are 30 days or less), we are not liable to you and you agree to
not make a claim against us, for the problems or unauthorized transactions.

Direct deposits - If you have arranged to have direct deposits made to your account at least once every 60 days from the same
person or company, you may call us to find out if the deposit was made as scheduled. You may also review your activity online
or visit a financial center for information.


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LESLIE KLEIN ! Account #            9401 ! January 19, 2023 to February 14, 2023




Deposits and other additions
Date         Description                                                                                              Amount

01/19/23     Counter Credit                                                                                           250.00

01/20/23     Agent Assisted transfer from CHK 9404 Confirmation# 1c2y7q6ky                                         1,000.00

01/23/23     BKOFAMERICA ATM 01/22 #000002475 DEPOSIT LARCHMONT VILLAGE LOS ANGELES CA                             2,505.91

01/23/23     Agent Assisted transfer from CHK 9404 Confirmation# lwmmkodp5                                       25,000.00

02/03/23     CHECKCARD 0203 TheOutnet New York          NY 7479338303400054867                                        326.32

02/08/23     SSA TREAS 310 DES:XXSOC SEC ID:XXXXXXXXXA SSA INDN:LESLIE KLEIN                  CO                   3,430.00
             ID           PPD

02/13/23     PAYPAL           DES:TRANSFER ID:1                  INDN:LESLIE KLEIN       CO                        3,480.00
             ID                PPD

02/14/23     Interest Earned                                                                                             0.05

Total deposits and other additions                                                                          $35,992.28



Withdrawals and other subtractions

ATM and debit card subtractions
Date         Description                                                                                              Amount

01/19/23     CHECKCARD 0118 TheOutnet New York          NY 24793383018000817520134 RECURRING                        -326.32

01/19/23     CHECKCARD 0117 ZARA USA 11857 LOS ANGELES CA 24692163018105303250027                                     -76.64

01/23/23     BKOFAMERICA ATM 01/22 #000002476 WITHDRWL LARCHMONT VILLAGE LOS ANGELES CA                             -300.00

01/23/23     CHECKCARD 0122 HIGHMEL INC LOS ANGELES CA                                                                -72.24

01/24/23     CHECKCARD 0123 BAKER OLSON LECROY & DA 818-5025600 CA 24559303023900018308517                      -14,999.67

01/25/23     CHECKCARD 0124 BAKER OLSON LECROY & DA 818-5025600 CA 24559303024900018408548                        -5,300.33

01/25/23     BLVD VACUUM AN 01/25 #000321976 PURCHASE BLVD VACUUM AND S LOS ANGELES CA                              -331.82

01/25/23     GLATT WESTERN 01/25 #000512773 PURCHASE GLATT WESTERN K                 LOS ANGELES CA                 -236.72

01/25/23     TRADER JOE S # 01/25 #000231878 PURCHASE TRADER JOE S #03 LOS ANGELES CA                               -261.71
                                                                                                      continued on the next page




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Withdrawals and other subtractions - continued

ATM and debit card subtractions - continued
Date           Description                                                                                                               Amount

01/27/23       CHECKCARD 0126 SQ *GOSHLOMO TRANSPORTA LOS ANGELES CA                                                                     -67.60
               24692163027101520615588

01/30/23       CHECKCARD 0126 MARKS' MARINE PHARMACY VANCOUVER                      BC 74525513027685338546633                          -389.99

01/30/23       HONEYBEE NAILS 01/30 #000594816 PURCHASE HONEYBEE NAILS & LOS ANGELES CA                                                  -76.00

01/31/23       CHECKCARD 0129 TST* CHARCOAL GRILL AND LOS ANGELES CA 24137463030500751812271                                            -205.67

02/01/23       PURCHASE 0201 UBER TRIP HELP.UBER.COMCA                                                                                   -32.90

02/01/23       312 - SEPHORA 02/01 #000525515 PURCHASE 312 - SEPHORA 216 NEW YORK                      NY                               -136.48

02/06/23       PURCHASE 0203 UBER TRIP HELP.UBER.COMCA                                                                                   -97.29

02/13/23       CHECKCARD 0209 THRIFTY ROOTER THRIFTY 818-5581018 CA 24275393041900013230114                                             -180.00

Total ATM and debit card subtractions                                                                                            -$23,091.38


Other subtractions
Date           Description                                                                                                               Amount

01/19/23       CA TLR cash withdrawal from CHK 9401                                                                                   -1,000.00

01/20/23       CA TLR cash withdrawal from CHK 9401                                                                                   -1,200.00

01/23/23       CA TLR cash withdrawal from CHK 9401                                                                                   -1,000.00

01/25/23       DELTA DENTAL INS DES:PREMIUM             ID                   INDN:Klein,Leslie    CO                                     -72.10
               ID           PPD

01/27/23       NORDSTROM          DES:TRANS        ID            INDN:ROTH KLEIN BARBARA         CO                                      -23.00
               ID               PPD

01/30/23       NORDSTROM          DES:TRANS        ID            INDN:ROTH KLEIN BARBARA         CO                                     -131.43
               ID               PPD

02/09/23       Agent Assisted transfer to CHK 9404 Confirmation# 19m44tp3l                                                            -5,000.00

Total other subtractions                                                                                                          -$8,426.53


Service fees
Date           Transaction description                                                                                                   Amount

01/26/23       Legal Order Fee,LTS P012623000433                                                                                         -76.32

01/30/23       CHECKCARD 0126 MARKS' MARINE PHARMACY VANCOUVER BC                                                                        -11.70
               74525513027685338546633 INTERNATIONAL TRANSACTION FEE

Total service fees                                                                                                                    -$88.02
Note your Ending Balance already reflects the subtraction of Service Fees.




       Braille and Large Print Request - You can request a copy of this statement in Braille or Large Print by calling 800.432.1000 or going to
       bankofamerica.com and enter Visually Impaired Access from the home page.




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    Important Messages - Please Read
    We want to make sure you stay up-to-date on changes, reminders, and other important details that
    could impact you.

Here is what you need to know about changes related to ATM and Debit Card fees.

·     On September 19, 2022, we stopped charging a $5 Replacement ATM/Debit Card Fee if your card needs to be replaced.

·     Starting May 23, 2023, we will stop charging an International Transaction Fee when an international purchase is processed
      in U.S. dollars.

      International purchases processed in a foreign currency will continue to be charged an International Transaction Fee equal
      to 3% of the U.S. dollar amount of the transaction.

·     Starting May 20, 2023, we will no longer waive the $15 Rush Replacement ATM/Debit Card Fee for Bank of America
      Advantage Relationship Banking®, Bank of America Advantage® with Tiered Interesting Checking, and Bank of America
      Advantage® Regular Checking accounts.

      Rush Replacement ATM/Debit Card Fees will continue to be waived for members enrolled in Preferred Rewards (Footnote
      1). Visit bankofamerica.com/preferred-rewards to learn about Preferred Rewards and additional pricing benefits available to
      members.

      Good news - a temporary digital version of your debit card may be available. If you prefer to avoid the fee for rush delivery,
      consider creating a digital card for debit, at no cost, while you wait. You need to be enrolled in Mobile Banking (Footnote 2)
      to replace your debit card using our mobile app. Just tap the "Menu" option, select "Manage Debit Card", and follow the
      instructions to temporarily replace your card - if you are eligible, you are given the option to create a digital card for debit.


(Footnote 1) Preferred Rewards Program Eligibility. To enroll in the Bank of America Preferred Rewards program you must have an active,
eligible personal checking account with Bank of America® and maintain the balance required for one of the balance tiers in your combined
qualifying Bank of America deposit accounts (such as checking, savings, certificate of deposit) and/or your Merrill investment accounts (such
as Cash Management Accounts, 529 Plans). You can satisfy the combined balance requirement for enrollment with either:

1) a three-month combined average daily balance in your qualifying deposit and investment accounts or
2) a current combined balance, provided that you enroll at the time you open your first eligible personal checking account and satisfy the
balance requirement at the end of at least one day within 30 days of opening that account.

You must have a qualifying balance of at least $20,000 for the Gold tier, $50,000 for the Platinum tier, $100,000 for the Platinum Honors tier,
$1,000,000 for the Diamond tier and $10,000,000 for the Diamond Honors tier. Refer to your Personal Schedule of Fees for details on
accounts that qualify towards the combined balance calculation and receive program benefits, available at bankofamerica.com/fees. Eligibility
to enroll is generally available three or more business days after the end of the calendar month in which you satisfy the requirements.
Benefits become effective within 30 days of your enrollment, or for new accounts within 30 days of account opening, unless we indicate
otherwise. Certain benefits are also available without enrolling in Preferred Rewards if you satisfy balance and other requirements.

(Footnote 2) Mobile Banking requires that you download the Mobile Banking app and is only available for select mobile devices. Message and
data rates may apply.




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        EXHIBIT E
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Bankruptcy Estate of Leslie Klein
Les Klein & Associates, Inc. "Net Cash Activity"
Time Period: April 1, 2023 through July 31, 2023
Summary

                                                                                    Transaction
                                                                  Amount               Count
Beginning Cash Balance                                        $     66,880.70

Receipts
  Inter-Company
     Big Boyz Legal LLC                                           314,000.00             14
     Doctors Marketing Group, LLC                                  40,500.00              7
  Miscellaneous                                                    27,462.56              7
Total Receipts                                                    381,962.56             28

Disbursements
  Inter-Company
     Bay Area Development Co                                       (92,000.00)           16
     Leslie Klein Bankruptcy Estate                                 (6,231.00)            6
  Professional Fees                                                (86,565.00)            5
  Related Party                                                    (53,865.68)            8
  Individuals                                                      (49,860.97)           19
  Payroll-LKA                                                      (43,921.46)           33
  Miscellaneous                                                    (27,568.69)            8
  Gestetner, Endine                                                (17,500.00)            1
  Donation                                                         (13,500.00)            1
  Utilities                                                        (12,742.34)           13
  Below $500 Threshold                                              (8,427.89)           50
  Life Insurance                                                    (4,899.84)            2
  Transportation                                                    (4,589.71)            8
  Memberships                                                       (3,996.20)            2
  Loan                                                              (1,464.85)            2
  Real Property                                                     (1,321.11)            2
Total Disbursements                                               (428,454.74)           176

Ending Cash Balance                                           $     20,388.52            204


The following Bank of America bank accounts are included in the above summary:

  Bank Account Name                                                               Ending Acct. No.
  Les Klein and Associates Inc. Trust Account DBA Family Legal Services                9404
  California IOLTA Trust Accounts Les Klein & Associates Inc.                          8122
  Les Klein & Associates Payroll Account                                               9405
  Les Klein & Associates                                                               6978

There are a total of 112 Intra-Company transfers totaling $399,652.00 during this time period.
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        EXHIBIT F
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Bankruptcy Estate of Leslie Klein
Bay Area Development Co. "Net Cash Activity"
Time Period: April 1, 2023 through July 31, 2023
Summary of Account Ending in 4099

                                                                         Transaction
                                                           Amount           Count
Beginning Cash Balance                                 $     5,874.60

Receipts
  Inter-Company
     Les Klein & Associates, Inc.                           92,000.00        16
     Doctors Marketing Group, LLC                           10,000.00         1
Total Receipts                                             102,000.00        17

Disbursements
  Intra-Company
     Bay Area Development Co                                  (116.00)        2


  Professional Fees                                        (49,015.00)       8
  Cash                                                      (9,150.00)      20
  Clothing                                                  (8,355.08)      43
  Food & Beverage                                           (8,021.68)      88
  Travel                                                    (6,893.48)      33
  Merch & Supplies                                          (4,062.26)      34
  Transportation                                            (3,764.73)      53
  Medical                                                   (2,987.68)      13
  Other                                                     (2,364.33)      19
  Israel                                                    (1,456.27)      36
  Utilities                                                 (1,420.43)       8
  Real Property                                               (736.37)       2
  Donation                                                    (720.00)       2
  Bank Fee                                                    (120.00)       4
Total Disbursements                                        (99,183.31)      365

Ending Cash Balance                                    $     8,691.29       382
